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DELAWARE NORTH COMPANIES TRAUEL Civit Ac:tir;m No. E:UT-CV-[}GEEB
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WITH PREJUDI E

NGW CUME the parties, by and through their undersigned munset, and hereby stipulate

 

pursuant to F.R.C.P. 41[&][1}[ii] that the Within CaSE is hereby dismissed With prejudics, as to

both the Plsintit`f’s claims and the Def¢ndsnt’s counterclaim, the parties to bear their own t.‘t:ostsl

 

 

Case 5:07-CV-00626-DNH-DEP Document 16 Filed 12/06/07 Page 2 of 2

Date: December 4, Et',`t[}? Respecthllly suhmitted,
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By: Stephanis A. M'Lrt€t‘
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